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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-60217-CIV-SINGHAL/VALLE

  LISA BATISTA, on behalf of herself and others
  similarly situated,

        Plaintiff,

  v.

  CRISP MARKETING LLC, a Florida limited
  liability company, and MOBILEHELP, LLC, a
  Delaware limited liability company,

       Defendants.
  ____________________________________________/

                              ORDER ON MOTION TO DISMISS

        THIS CAUSE is before the Court upon Defendant MobileHelp, LLC’s Motion to

  Dismiss the Complaint (DE [15]). Plaintiff Lisa Batista has filed a Response in Opposition

  (DE [24]), and MobileHelp has filed a Reply (DE [30]). For the reasons discussed below,

  the Motion is granted.

  I.    BACKGROUND

        Plaintiff filed this class action against Defendants Crisp Marketing, LLC (“Crisp

  Marketing”) and MobileHelp, LLC (“MobileHelp”) for allegedly violating the Telephone

  Consumer Protection Act of 1991 (“TCPA”). The TCPA “generally prohibits robocalls to

  cell phones and home phones.” Barr v. Am. Ass’n of Political Consultants, 140 S. Ct.

  2335, 2343 (2020); see 47 U.S.C. § 227(b)(1)(A)(iii).

        Plaintiff alleges that in December 2020, she received three prerecorded phone

  calls from Crisp Marketing that violated 47 U.S.C. § 227(b)(1)(A)(iii). (Compl. ¶¶ 11, 17

  (DE [1])). When Plaintiff answered all three phone calls, she was asked a series of
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  prerecorded questions and upon answering, Plaintiff was transferred to a live agent

  promoting medical alert devices. (Id. ¶ 18). During the phone calls on December 3 and 4,

  2020, Plaintiff requested to be placed on Crisp Marketing’s do-not-call list. (Id. ¶ 19). On

  December 8, Plaintiff received another prerecorded phone call and remained on the

  phone until the live agent identified MobileHelp as the seller of the products being

  promoted during calls. (Id. ¶ 20). Plaintiff alleges that MobileHelp is liable for Crisp

  Marketing’s violations of the TCPA because Crisp Marketing was acting under

  MobileHelp’s authority and MobileHelp benefited from the calls. (Id. ¶ 24). Finally, Plaintiff

  alleges that MobileHelp should have been aware of Crisp Marketing’s TCPA violations

  because of an unidentified lawsuit pending against Crisp Marketing for violations of the

  TCPA. (Id. ¶ 28).

         MobileHelp moves to dismiss Plaintiff’s Complaint under Federal Rule of Civil

  Procedure 12(b)(1) and 12(b)(6). MobileHelp first argues that Plaintiff lacks standing

  because the Complaint attributes only the December 8 phone call to MobileHelp and,

  therefore, MobileHelp can be held liable for only that one call. Second, MobileHelp argues

  that the Complaint fails to state a claim because Plaintiff made conclusory allegations

  regarding the relationship between MobileHelp and Crisp Marketing. MobileHelp also

  argues that it is not directly or vicariously liable for Crisp Marketing’s TCPA violations.

  II.    STANDING

         A. Legal Standard

         Under Federal Rule of Civil Procedure 12(b)(1), a party may move to dismiss a

  claim for “lack of subject-matter jurisdiction.” Because “standing is jurisdictional, a

  dismissal for lack of standing has the same effect as a dismissal for lack of subject matter




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  jurisdiction under Fed. R. Civ. P. 12(b)(1).” Stalley v. Orlando Reg’l Healthcare Sys., 524

  F.3d 1229, 1232 (11th Cir. 2008) (quoting Cone Corp. v. Fla. Dep’t of Transp., 921 F.2d

  1190,1203 (11th Cir. 1991)). When ruling on a motion to dismiss for lack of standing, the

  trial court “must accept as true all material allegations of the complaint, and must construe

  the complaint in favor of the complaining party.” Warth v. Seldin, 422 U.S. 490, 501 (1975)

  (citation omitted). If the “plaintiff’s standing does not adequately appear from all materials

  of record, the complaint must be dismissed.” Id. at 502. During the pleading stage, “the

  plaintiff must ‘clearly . . . allege facts demonstrating’ each element” of Article III standing.

  Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (omission in original) (quoting

  Warth, 422 U.S. at 518).

         A motion to dismiss for lack of standing “can be based upon either a facial or factual

  challenge to the complaint.” McElmurray v. Consol. Gov’t of Augusta-Richmond Cty., 501

  F.3d 1244, 1251 (11th Cir. 2007) (citing Williamson v. Tucker, 645 F.2d 404, 412 (5th Cir.

  1981)). A facial attack on a complaint “require[s] the court merely to look and see if [the]

  plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and the allegations

  in his [or her] complaint are taken as true for the purposes of the motion.” Id. (first and

  second alterations in original) (quoting Lawrence v. Dunbar, 919 F.2d 1525, 1529 (11th

  Cir. 1990)). On the other hand, a factual attack challenges “the existence of subject matter

  jurisdiction in fact, irrespective of the pleadings, and matters outside the pleadings, such

  as testimony and affidavits are considered.” Id. (quoting Lawrence, 919 F.2d at 1529).

          To meet the constitutional minimum for Article III standing, the following elements

  must be satisfied: (1) there must be an injury-in-fact, (2) the injury must be traceable to

  the defendant’s conduct, and (3) the injury must be likely to be redressed by a favorable




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  decision. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61 (1992). Under Lujan, “the

  party invoking federal jurisdiction bears the burden of establishing these elements.” Id. at

  561 (citations omitted).

         To establish the first element of injury-in-fact, “a plaintiff must show that he or she

  suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized’

  and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, Inc., 136 S. Ct. at 1548

  (quoting Lujan, 504 U.S. at 560). An injury is “particularized” if it “affect[s] the plaintiff in a

  personal and individual way.” Lujan, 504 U.S. at 560 n.1. Additionally, to be “concrete,”

  an “injury must be ‘de facto’; that is, it must actually exist.” Spokeo, Inc., 136 S. Ct. at

  1548 (citing Black’s Law Dictionary 479 (9th ed. 2009)). Further, even when there is a

  statutory violation, Article III standing requires a concrete injury. Id. at 1549. Regarding

  concrete injuries, the Supreme Court has recently held that “[o]nly those plaintiffs who

  have been concretely harmed by a defendant’s statutory violation may sue that private

  defendant over that violation in federal court.” TransUnion LLC v. Ramirez, 2021 U.S.

  LEXIS 3401, at *21 (U.S. June 25, 2021).

         Under the TCPA, a person has standing to initiate a private right of action against

  an entity when the person “has received more than one telephone call within any 12-

  month period by or on behalf of the same entity.” 47 U.S.C. § 227(c)(5) (emphasis added).

  The Eleventh Circuit has emphasized that “more than one unwanted call” is a concrete

  injury under the TCPA and “meets the minimum requirements of Article III standing.”

  Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1270 (11th Cir. 2021); compare Grigorian v.

  FCA, US LLC, 838 Fed. Appx. 390, 393 (11th Cir. 2020) (holding single prerecorded

  voicemail is insufficient injury for standing), with Glasser v. Hilton Grand Vacations Co.,




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  LLC, 948 F.3d 1301, 1305–06 (11th Cir. 2020) (holding receipt of over dozen unsolicited

  phone calls is sufficient to constitute injury under TCPA).

         Most recently in the Southern District of Florida, Judge Gayles granted a motion to

  dismiss under Federal Rule of Civil Procedure 12(b)(1) in favor of six defendants because

  the plaintiff received only one call from each of those defendants. Hossfeld v. Am. Fin.

  Sec. Life Ins. Co., 2021 WL 2453114, at *1–2 (S.D. Fla. June 16, 2021). In Hossfeld, the

  plaintiff filed a class action against several defendants after receiving seven prerecorded,

  and unsolicited, phone calls. Id. at *4. The complaint alleged that several defendants, who

  are insurance companies, hired the other defendant, a telemarketing company, to

  promote their businesses. Id. Relying on Eleventh Circuit case law, the court dismissed

  the claim against six defendants because those defendants were only specifically

  mentioned in one of the seven phone calls made by the telemarketing company and,

  therefore, Plaintiff lacked standing to bring a TCPA claim against them. Id. at *4 (citing

  Glasser, 948 F.3d at 1306; Cordoba, 942 F.3d at 1270; Salcedo v. Hanna, 936 F.3d 1162,

  1168 (11th Cir. 2019)).

     B. Discussion

         MobileHelp moves to dismiss under Rule 12(b)(1) and raises a facial attack to

  challenge Plaintiff’s standing. See McElmurray, 501 F.3d at 1251. Plaintiff, the party

  invoking federal jurisdiction, has the burden of establishing standing. See Lujan, 504 U.S.

  at 561. To establish Article III standing, Plaintiff must establish that she suffered an injury-

  in-fact. See id. at 560. An injury-in-fact needs to be concrete and particularized. Spokeo,

  Inc., 136 S. Ct. at 1548.




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         To decide whether Plaintiff has Article III standing, the Court must first address

  whether Plaintiff clearly alleges MobileHelp is responsible for all three phone calls made

  by Crisp Marketing for the promotion and sale of medical alert devices. See (Compl. ¶¶

  17–18 (DE [1])). MobileHelp argues that the Complaint should be dismissed because only

  the December 8 phone call can be traced back to it. MobileHelp also argues that Crisp

  Marketing’s live agent identified the seller only in the final phone call on December 8 and

  that neither of the prior calls identified MobileHelp. In her response, Plaintiff does not

  address whether more than one phone call is connected to MobileHelp. Instead, Plaintiff

  argues that one phone call is enough under the TCPA to establish Article III standing and

  survive a Rule 12(b)(1) motion to dismiss. Thus, Plaintiff appears to concede that only

  one phone call can be connected to MobileHelp. The Court agrees that only the

  December 8 phone call is pleaded as being connected to MobileHelp.

         The Court has accepted all the material allegations of the Complaint as true,

  construing them in Plaintiff’s favor; however, the Court cannot infer from the facts alleged

  that MobileHelp is liable for the three phone calls received by Plaintiff in December 2020.

  See Warth, 422 U.S. at 501 (holding that courts “must accept true all material allegations

  of the complaint and must construe the complaint in favor of the complaining party”). The

  Complaint clearly alleges that Crisp Marketing was connected to all three phone calls

  made to Plaintiff. (Compl. ¶ 17 (DE [1])). On the other hand, the Complaint mentions

  MobileHelp’s name only in connection with the December 8 phone call. (Id. ¶ 20). During

  that phone call, the live agent identified MobileHelp as the seller of the promoted products.

  (Id. ¶¶ 18, 20).




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         The Court cannot infer that MobileHelp was connected to the December 3 and 4

  phone calls from Crisp Marketing. Several days elapsed between those calls and the

  December 8 phone call. During all three phone calls, “Plaintiff answered the same series

  of prerecorded questions before being transferred to a live agent promoting medical alert

  devices.” (Id. ¶ 18). The Complaint does not clearly allege that MobileHelp was the sole

  medical alert device company being represented by Crisp Marketing. Rather, the

  Complaint alleges that Crisp Marketing set up a “campaign” to promote MobileHelp’s

  products. (Id. ¶ 2). Just like MobileHelp allegedly had a business relationship with Crisp

  Marketing to promote its medical alert devices, another company may have been able to

  hire Crisp Marketing to promote its medical alert devices, as well. Here, the gap in time

  and the absence of allegations regarding Crisp Marketing’s business—specifically, its

  number of clients—prevents the Court from inferring that MobileHelp is responsible for

  the first two phone calls because Plaintiff fails to clearly allege whether the medical alert

  devices mentioned by the live agent are those of MobileHelp. See (id. ¶¶ 18, 20).

         Hossfeld presented a similar situation and is instructive. There, a telemarketing

  company represented several insurance companies and made calls to promote these

  insurance companies. 2021 WL 2453114, at *1. During several of the calls, no insurance

  company was identified. See id. at *1–2. In evaluating standing, the court considered only

  the calls where the insurance companies were referenced by name. See id. at *4. Here,

  the seller of the medical alert devices was not identified in the December 3 and 4 phone

  calls, and like Hossfeld, the Court cannot infer that those calls promoted MobileHelp’s

  products in the absence of more detailed allegations. Accordingly, the Court can infer that

  MobileHelp is connected to only the December 8 phone call.




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         The Court must next consider whether receipt of the December 8 phone call is a

  concrete injury under Article III. MobileHelp argues, based on Cordoba, that the receipt

  of more than one phone call is needed to have standing for a violation of the TCPA. See

  942 F.3d at 1270. Relying on case law from other circuits, Plaintiff argues that one

  prerecorded phone call is sufficient to establish a concrete injury because prerecorded

  phone calls are exactly what the TCPA was enacted to prevent. See, e.g., Susinno v.

  Work Out World Inc., 862 F.3d 346, 351 (3rd Cir. 2017). Plaintiff argues that she has

  suffered an injury-in-fact because she suffered a violation of privacy, was annoyed and

  harassed, used her phone battery, and was prevented from receiving actual

  communications while the prerecorded call was coming in. (Compl. ¶ 22 (DE [1])).

  Furthermore, Plaintiff distinguishes the single phone call received from MobileHelp from

  the text message received by the plaintiff in Salcedo v. Hanna. 936 F.3d 1162, 1173–74

  (11th Cir. 2019). Here, Plaintiff argues that a phone call should be sufficient to confer

  Article III standing because the intrusion of a phone call is more harmful than a single text

  message found insufficient for standing in Salcedo.

         The Court agrees with Plaintiff that prerecorded phone calls can be a nuisance;

  however, the Court disagrees that the receipt of one prerecorded phone call is sufficient

  to constitute a concrete injury under the TCPA. See 47 U.S.C. § 227(c)(5); see also

  Cordoba, 942 F.3d at 1269; Hossfeld, 2021 WL 1186526, at *4. Ultimately, the Court is

  bound by Eleventh Circuit precedent and, therefore, Plaintiff does not have standing to

  bring a cause of action against MobileHelp because Plaintiff suffered no concrete injury.

         Accordingly, MobileHelp’s Motion to Dismiss under Rule 12(b)(1) is granted

  without prejudice. See McQueary v. Child Support Enf't, 812 Fed. Appx. 911, 914 (11th




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  Cir. 2020) (“A dismissal for lack of subject matter jurisdiction is entered without prejudice

  because it is not a judgment on the merits.” (citing Stalley ex rel. U.S., 524 F.3d at 1232)).

  The Court has no jurisdiction to address MobileHelp’s Rule 12(b)(6) argument. Further,

  the Court is not required to grant leave to amend because Plaintiff did not request it.

  See DiMaio v. Democratic Nat’l Comm., 520 F.3d 1299, 1303 (11th Cir. 2008) (“[A] district

  court is not required to grant a plaintiff leave to amend his complaint sua sponte when the

  plaintiff, who is represented by counsel, never filed a motion to amend nor requested

  leave to amend before the district court.” (quoting Wagner v. Daewoo Heavy Indus. Am.

  Corp., 314 F.3d 541, 542 (11th Cir. 2002) (en banc))).

     III.      CONCLUSION

            For the reasons discussed above, it is hereby

            ORDERED AND ADJUDGED that Defendant MobileHelp’s Motion to Dismiss

  (DE [15]) is GRANTED for lack of subject matter jurisdiction. Plaintiff’s claims against

  MobileHelp are DISMISSED WITHOUT PREJUDICE for failure to allege standing.

            DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 7th day of July

  2021.




  Copies furnished to counsel via CM/ECF




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